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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                     *
 vs.                                               *   Case No.: 22-15-APM
 THOMAS EDWARD CALDWELL                            *
        *       *       *      *       *       *       *      *       *      *       *

                                              ORDER
        Upon consideration of the Defendant’s Unopposed Motion to Modify Conditions of
 Release, it is hereby ordered by the United States District Court for the District of Columbia that
 the Motion is granted and that the Defendant is permitted to leave his home county as follows:
        (1) On March 20, 2024 from 8:30 a.m. to 2:30 p.m. to accompany his wife, Sharon
            Caldwell, to a medical appointment in Sterling, Virginia;
        (2) On Easter Sunday, March 31, 2024 from 6:30 a.m. to 3:00 p.m. to attend two separate
            church services at Cornerstone Church and Oakrum Baptist Church; and
        (3) All other conditions to remain the same.




        __________________                     ____________________________________
        Date                                   Honorable Amit P. Mehta
                                               United States District Court
